                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



   BARRY HONIG, an individual,           )
                                         )
                 Plaintiff,              )
                                         )
   v.                                    )                 Case No. 1:17-cv-00184-CCE-LPA
                                         )
   ROBERT LADD, an individual; MGT       )
   CAPITAL INVESTMENTS, INC.,            )
   a Delaware corporation; TERI BUHL,    )
   an individual; and DOES 1-20,         )
                                         )
                 Defendants.             )
   _____________________________________ )

                 CONSENT MOTION FOR PROTECTIVE ORDER

       Plaintiff Barry Honig (“Plaintiff” or “Honig”) and defendants Robert Ladd

(“Ladd”), MGT Capital Investments, Inc. (“MGT”), and Teri Buhl (“Buhl”) respectfully

move for a protective order to facilitate discovery and the exchange of confidential

information and documents in this case.

       BRIEF STATEMENT OF RELEVANT FACTS AND PROCEEDINGS

       Honig has alleged that Ladd/MGT and Buhl conspired to publish a series of false

and highly defamatory articles that contain assertions that Honig, among other things, is

violating securities laws, is the “target” of a Securities and Exchange Commission

(“SEC”) investigation arising out of those violations and that “90%” of a SEC subpoena

served on MGT is about Honig. Defendants deny Honig’s allegations and contend,

among other things, that the alleged statements were non-actionable statements of




      Case 1:17-cv-00184-CCE-LPA Document 60 Filed 11/21/17 Page 1 of 9
opinion and/or rhetorical hyperbole based on the content of the SEC subpoena, Honig’s

reputation, and Honig’s investing history.

       The parties exchanged initial disclosures on October 19, 2017. The parties have

also recently served responses to the first set of written discovery propounded by the

opposing side. On or about November 3, 2017, Ladd/MGT served notices of document

subpoenas to third parties identified in Honig’s initial disclosures.

       The parties have been meeting and conferring regarding the production of

confidential information and documents related to party and third party discovery in this

case, and on November 17, 2017, all of the parties agreed to a Stipulated Confidentiality

Agreement And Protective Order (a copy of which is attached to this consent motion).

                                       ARGUMENT

   1. Standards on motion for protective orders

       To insure that discovery is sufficient, yet reasonable, district courts have

“substantial latitude to fashion protective orders.” Seattle Times Co. v. Rhinehart, 467

U.S. 20, 36, 104 S.Ct. 2199 (1984).

       Upon a showing of “good cause,” the Court may fashion a protective order that,

among other things, specifies the terms and methods of disclosure and the scope of

discovery. See Fed. R. Civ. P. Rule 26(c); see also Fed. R. Civ. P. Rule 26(c)(1)(G)

(stating court may issue protective orders limiting disclosure of trade secrets “or other

confidential research, development, or commercial information”); Local Rule 26.2(a) (“If

a party, or parties jointly, seek entry of a protective order to shield information provided

in discovery from dissemination, the movant or movants must demonstrate with


                                              2


      Case 1:17-cv-00184-CCE-LPA Document 60 Filed 11/21/17 Page 2 of 9
specificity that (i) the information qualifies for protection under Rule 26(c) of the Federal

Rules of Civil Procedure, and (ii) good cause exists for restricting dissemination on the

ground that harm would result from its disclosure.”)

       Given the intrusive nature of the discovery process, “[i]t is not surprising,

therefore, that issuance of protective orders in civil litigation has become almost routine.”

In re Grand Jury Subpoena, 836 F.2d 1468, 1477 (4th Cir. 1988); see also id. at 1472

(recognizing that protective orders “aid the civil courts in facilitating resolution of private

disputes.”) Often, rather than seeking protective orders each time the need arises,

“parties agree[ ] to a ‘blanket’ protective order that permit[s] them to designate

documents containing confidential business information.” Longman v. Food Lion, Inc.,

186 F.R.D. 331, 333 (M.D.N.C. 1999); see also Factory Mut. Ins. Co. v. Insteel Indus.,

Inc., 212 F.R.D. 301, 303–04 (M.D.N.C. 2002) (describing “ ‘blanket’ protective order

[as one that] ‘permits the parties to protect documents that they in good faith believe

contain trade secrets or other confidential commercial information’ ” (quoting Bayer AG

and Miles, Inc. v. Barr Labs., Inc., 162 F.R.D. 456, 463–64 (S.D.N.Y. 1995)); Parkway

Gallery Furniture, Inc. v. Kittinger/Pennsylvania House Group, Inc., 121 F.R.D. 264,

267–68 (M.D.N.C. 1988) (noting that “[b]lanket or umbrella protective orders are

becoming increasingly common as large scale litigation involves more massive document

exchanges.”)

       Courts regularly enter such orders “based on a general ‘good cause’

determination.” Longman, 186 F.R.D. at 333; see also Parkway Gallery, 121 F.R.D. at

268 (observing that “showing of good cause to believe that discovery will involve


                                               3


      Case 1:17-cv-00184-CCE-LPA Document 60 Filed 11/21/17 Page 3 of 9
confidential or protected information ... may be done on a generalized as opposed to a

document-by-document basis.”) This Court has found that in cases, such as this one,

“involv[ing] hundreds of documents containing confidential business information that

Defendants feared could be used by Defendants’ competitors to gain a business

advantage,” an agreed-upon, blanket protective order “arrangement [i]s essential to the

efficient functioning of the discovery process....” Longman, 186 F.R.D. at 333.

   2. Good cause exists for a protective order in this case to facilitate discovery and

       the exchange of confidential information and documents.

       A protective order in this case is necessary to facilitate discovery by protecting the

parties, and third parties, from the improper dissemination and use of confidential

information and documents.

       Specifically, Honig has alleged that he is an investor by profession and that

Defendants’ conduct caused him damages in the form of lost business opportunities with

third parties. Defendants allege, among other things, that Honig already had a poor

reputation in the investing community, and seek to obtain information and documents

from Honig and third parties regarding his claims of damages. Defendants also seek

documents regarding the truth of several of the allegedly defamatory statements,

including that Honig was being investigated by the Securities and Exchange Commission

and had been involved in “pump and dump” schemes. Honig contends that the

information and documents sought by Defendants pertain to highly confidential business

transactions and include financial records that are not otherwise known to the public and

could harm Honig and the third parties if they become known. Ladd and MGT contend


                                              4


      Case 1:17-cv-00184-CCE-LPA Document 60 Filed 11/21/17 Page 4 of 9
that information Honig seeks in discovery – including information relating to MGT’s

internal business communications, trading records and an SEC subpoena to MGT and

corresponding SEC investigation – is similarly confidential.

       The entry of a protective order, as set out in the attached Stipulated Confidentiality

Agreement And Protective Order, would therefore allow the parties and third parties to

exchange confidential information and documents without fear that they will be made

available to the public. Further, a blanket protective order, such as that proposed by the

parties, will streamline the litigation of this case by allowing the parties to more easily

resolve disputes amongst themselves instead of seeking protective orders each time the

need arises. However, nothing in this consent motion shall constitute a waiver of any

objection by any party to discovery sought in this case.

                                      CONCLUSION

       For all of the foregoing reasons, the parties respectfully request the entry of a

protective order in this case. Filed concurrently herewith are copies of a proposed order

granting this consent motion and the Stipulated Confidentiality Agreement And

Protective Order.

Dated: November 21, 2017                   Respectfully submitted,

                                           By: /s/ David E. Fox
                                           David E. Fox
                                           N.C. State Bar No. 10332
                                           Moore & Van Allen PLLC
                                           100 North Tryon Street, Suite 4700
                                           Charlotte, North Carolina 28202-4003
                                           Tel: (919) 286-8069
                                           Fax: (919) 416-8306
                                           davidfox@mvalaw.com


                                              5


      Case 1:17-cv-00184-CCE-LPA Document 60 Filed 11/21/17 Page 5 of 9
                                  By: /s/ Ryan J. Stonerock
                                  Charles J. Harder
                                  Ryan J. Stonerock
                                  HARDER MIRELL & ABRAMS LLP
                                  132 S. Rodeo Drive, Fourth Floor
                                  Beverly Hills, California 90212
                                  Tel: (424) 203-1600
                                  Fax: (424) 203-1601
                                  charder@hmafirm.com
                                  rstonerock@hmafirm.com

                                  Counsel for Plaintiff



Dated: November 21, 2017          By: /s/ Jonathan C. Krisko
                                  Jonathan C. Krisko
                                  Erik R. Zimmerman
                                  Robinson, Bradshaw & Hinson P.A.
                                  101 N. Tryon Street, Suite 1900
                                  Charlotte, NC 28246
                                  jkrisko@robinsonbradshaw.com
                                  ezimmerman@robinsonbradshaw.com

Dated: November 21, 2017          By: /s/ Darren A. LaVerne
                                  John P. Coffey
                                  Darren A. LaVerne
                                  Kramer, Levin, Naftalis & Frankel LLP
                                  1177 Avenue of the Americas
                                  New York, NY 10036
                                  scoffey@kramerlevin.com
                                  dlaverne@kramerlevin.com

                                  Attorneys for Defendants, Robert Ladd
                                  and MGT Capital Investments, Inc.




                                     6


     Case 1:17-cv-00184-CCE-LPA Document 60 Filed 11/21/17 Page 6 of 9
Dated: November 21, 2017    By: /s/ Eric M. David
                                    Eric M. David
                                    Brooks, Pierce, McLendon, Humphrey &
                                    Leonard, L.L.P.
                                    1700 Wells Fargo Capitol Center
                                    150 Fayetteville Street
                                    Raleigh, NC 27601
                                    edavid@brookspierce.com


Dated: November 21, 2017    By: /s/ Erica A. Wolff
                                    Michael Tremonte
                                    Erica A. Wolff
                                    Sher Tremonte LLP
                                    90 Broad Street, 23rd Floor
                                    New York, NY 10004
                                    mtremonte@shertremonte.com
                                    ewolff@shertremonte.com

                                  Attorneys for Defendant, Teri Buhl




                                     7


     Case 1:17-cv-00184-CCE-LPA Document 60 Filed 11/21/17 Page 7 of 9
                            CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing CONSENT MOTION FOR

PROTECTIVE ORDER was electronically filed with the Clerk of Court using the

Court’s CM/ECF system, which will send notification of such filing to the following

counsel of record:

                     Jonathan C. Krisko
                     Erik R. Zimmerman
                     Robinson, Bradshaw & Hinson P.A.
                     101 N. Tryon Street, Suite 1900
                     Charlotte, NC 28246
                     jkrisko@robinsonbradshaw.com
                     ezimmerman@robinsonbradshaw.com

                     Darren Laverne
                     Jeffrey W. Davis
                     John P. Coffey
                     Kramer, Levin, Naftalis & Frankel LLP
                     1177 Avenue of the Americas
                     New York, NY 10036
                     dlaverne@kramerlevin.com
                     jdavis@kramerlevin.com
                     scoffey@kramerlevin.com

                     Attorneys for Defendants, Robert Ladd
                     and MGT Capital Investments, Inc.


                     Kimberly M. Marston
                     Brooks, Pierce, McLendon, Humphrey & Leonard, L.L.P.
                     2000 Renaissance Plaza
                     230 North Elm Street
                     Greensboro, NC 27401
                     kmarston@brookspierce.com




                                           8


      Case 1:17-cv-00184-CCE-LPA Document 60 Filed 11/21/17 Page 8 of 9
            Eric M. David
            Brooks, Pierce, McLendon, Humphrey & Leonard, L.L.P.
            1700 Wells Fargo Capitol Center
            150 Fayetteville Street
            Raleigh, NC 27601
            edavid@brookspierce.com

            Michael Tremonte
            Erica A. Wolff
            Sher Tremonte LLP
            90 Broad Street, 23rd Floor
            New York, NY 10004
            mtremonte@shertremonte.com
            ewolff@shertremonte.com

            Attorneys for Defendant, Teri Buhl



This 21st day of November, 2017.


                   /s/ David E. Fox
                   David E. Fox




                                      9


Case 1:17-cv-00184-CCE-LPA Document 60 Filed 11/21/17 Page 9 of 9
